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 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                   Case No. 2:13-cr-00239-JAD-PAL
                                               )
 9   vs.                                       )                   ORDER
                                               )
10   ROBERT MORROW, et al.,                    )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Robert Morrow’s Motion to Amend Terms of
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     Pretrial Release (#40), filed September 23, 2013. The motion is unopposed. “The failure of an
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     opposing party to file points and authorities in response to any motion shall constitute a consent to
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     the granting of the motion.” LCR 47-9. Accordingly,
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            IT IS HEREBY ORDERED that Defendant Robert Morrow’s Motion to Amend Terms of
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     Pretrial Release (#40) is granted. The no-association condition of Defendant Morrow’s pretrial
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     release is modified to reflect that he may visit his mother at the same time as his brother, co-
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     defendant Daniel Morrow. All other terms and conditions of pretrial release remain in effect.
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            DATED: October 15, 2013.
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23                                                 ______________________________________
                                                   C.W. Hoffman, Jr.
24                                                 United States Magistrate Judge
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